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 6
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,     )
                                   )       No. MJ: 08-MJ-0189 GGH
11                  Plaintiff,     )
                                   )
12             v.                  )       ORDER DISMISSING COMPLAINT
                                   )       AS TO DEFENDANT MALIK MILES
13   MALIK MILES,                  )
                                   )
14                  Defendant.     )
     ______________________________)
15
16         The United States has moved pursuant to Rule 48(a) of the
17   Federal Rules of Criminal Procedure for leave to dismiss without
18   prejudice the Complaint as to defendant MALIK MILES.          Good cause
19   having been shown, leave to dismiss the Complaint as to defendant
20   Malik Miles is GRANTED, and the Complaint is hereby DISMISSED
21   without prejudice as to that defendant.        The Preliminary Hearing
22   set for August 21, 2008, at 2:00 p.m. is hereby vacated as to
23   defendant MALIK MILES.
24   DATED: August 19, 2008.
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28   Ddad1/orders.criminal/miles0189.ord
